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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
            Plaintiff,                )
                                      )
      vs.                             )      Case No. 4:08CR405 CDP
                                      )
ZEUANTRAY VERNER BARRY,               )
                                      )
            Defendant.                )

                          MEMORANDUM AND ORDER

      This matter is before the undersigned on defendant Zeuantray Barry’s

motions to suppress evidence, motion to dismiss, and motions for severance.

Pretrial motions were initially referred to United States Magistrate Judge Frederick

R. Buckles under 28 U.S.C. § 636(b). After Judge Buckles held a hearing and

entered his Report and Recommendations on the motions, defendant retained

additional counsel who asked leave to file additional motions. I allowed the filing

of those motions, but did not re-refer the case to Judge Buckles, and instead heard

the motions myself. This order considers both the motions on which Judge

Buckles entered his Report and Recommendation and the newly filed motions.

Barry has objected to Judge Buckles’ recommended rulings, and so I have

considered those motions de novo, including reviewing the transcript of the

hearing and considering all evidence presented to Judge Buckles. For the reasons
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that follow, I conclude that all of defendant Barry’s motions should be denied.

                           Motion to Dismiss Indictment

      Defendant filed a motion claiming “defect in the institution of prosecution”

and a memorandum in support, which purports to challenge the grand jury

proceedings. Neither of these documents provides any basis for relief. The

motion argues that the indictment is too vague, and the memorandum asserts that

false and misleading testimony was presented to the grand jury.

      As Judge Buckles’ correctly found, the indictment is sufficiently precise to

inform defendant of the charges against him, to enable him to prepare a defense,

avoid the danger of unfair surprise, and to plead the result of this case as a bar to

further prosecution. Defendant’s general arguments to the contrary must be

rejected.

      Defendant has failed to show that there was any false or misleading

testimony presented to the grand jury. The grand jury testimony he quotes1 is

entirely consistent with the testimony that the law enforcement officers provided

at Judge Buckles’ suppression hearing. Barry has failed to show any basis for

dismissing the indictment.



      1
       No grand jury testimony was introduced into evidence, so this order is
simply based on what defendant says happened before the grand jury.
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                                   Motions to Sever

         Barry has argued, in multiple motions, that he should not be subjected to a

joint trial with his co-defendants. The government has indicated that it does not

intend to introduce any statements that would implicate Bruton v. United States,

391 U.S. 123 (1968). Additionally, joinder of these defendants is proper under

Rule 8, Fed. R. Crim. P., and defendant has provided no basis for his claim that he

would be prejudiced if tried with the co-defendants. I will deny the motions to

sever.

                            Motions to Suppress Evidence

         Defendant seeks to suppress evidence obtained through electronic

surveillance (Title III wiretaps) as well as evidence seized during a traffic stop.

Judge Buckles heard evidence on the traffic stop, which I have reviewed de novo.

I also heard additional evidence regarding the traffic stop at my hearing. Judge

Buckles did not consider the wiretaps, because no challenge was initially made to

that evidence, and so I have considered that evidence and argument in the first

instance.

         Title III of the Omnibus Crime Control and Safe Streets Act of 1968,

codified at 18 U.S.C. § 2510 et seq., provides for the interception of wire, oral and

electronic communications under certain circumstances. Under that statute an

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order for electronic surveillance may be entered by a United States District Judge

upon the application of a federal law enforcement officer who has been authorized

to make such application by the United States Attorney General or his authorized

designee. The application must include, among other things, a full and complete

description of the facts relied upon, including details of the alleged offense,

description of the facilities where the communications are to be intercepted,

description of the communications sought to be intercepted, the identity of the

persons whose communications will be intercepted, whether other investigative

procedures have been tried, and the period of time for which the interception is

requested. The application must also indicate whether previous applications

involving the same facilities, persons or places have been made. 18 U.S.C. §

2518(1).

      Under 18 U.S.C. § 2518(3), the Court may issue the order only if it finds

probable cause to believe that (1) a person is committing one of the crimes

enumerated in 18 U.S.C. § 2516, (2) communications concerning such an offense

will be obtained through interception, and (3) the place where the communications

are to be intercepted is being used in connection with the commission of such an

offense. The Court must also find that normal investigative procedures have been

tried and have failed or reasonably appear to be unlikely to succeed if tried or

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appear to be too dangerous. It is this last requirement that defendant Barry

challenges in this case.2

      Section 2518(1)(c) requires the application to contain:

      (c) a full and complete statement as to whether or not other
      investigative procedures have been tried and failed or why they
      reasonably appear to be unlikely to succeed if tried or to be too
      dangerous.

As defendant correctly points out, the purpose of this requirement is to assure that

wiretaps are not “routinely employed as the initial step in an investigation.”

United States v. Maxwell, 25 F.3d 1389, 1394 (8th Cir. 1994); see also United

States v. Shaw, 94 F.3d 438, 441 (8th Cir. 1996). The cases make clear, however,

that the government “is simply not required to use a wiretap only as a last resort.”

United States v. Macklin, 902 F.2d 1320, 1327 (8th Cir. 1990).

      I have carefully examined the applications and affidavits which were used

to obtain the wiretaps and extensions of wiretaps in this case. These wiretaps were

not used as an initial steps in the investigation, but instead were sought only after

the government had already developed information about the drug trafficking



      2
        Although the motion makes reference to minimization, at the hearing
defendant clarified that he is not raising any claim that law enforcement agents
failed to comply with the duty to minimize any unauthorized interceptions
imposed by 18 U.S.C. § 2518(5). Cf. United States v. Padilla-Pena, 129 F.3d 457
(8th Cir. 1997) (rejecting challenge to minimization).
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activities of some of the defendants in this case, but before the government had

learned the full extent of the criminal activity and people involved. Each

application sets out in detail the evidence that had been obtained by traditional

investigative means, and explained the limitations of the use of the various

traditional means available. Other means would not have revealed the scope of the

drug trafficking conspiracies, and were impracticable or dangerous for many

reasons. Having carefully reviewed the applications in light of the controlling

law, I conclude that there is no basis for suppressing the evidence obtained. The

wiretaps were lawfully obtained, in full compliance with the statute in all respects.

      Defendant also moves to suppress the drugs seized from the vehicle he was

driving on August 16, 2007. This was the subject of Judge Buckles’ hearing and

Report and Recommendation. As stated above, I have conducted de novo review

of the evidence, and have considered defendant’s statement that, contrary to the

testimony of the police officer, he did not consent to the search of the vehicle. I

believe, as did Judge Buckles, that this was a lawful stop, and that defendant

knowingly and voluntarily consented to the search of the vehicle. There is no

basis for suppressing this evidence.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation of

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United States Magistrate Judge Buckles [#346] is SUSTAINED, ADOPTED, and

INCORPORATED herein.

      IT IS FURTHER ORDERED that defendant’s motions to suppress

evidence and motion to suppress evidence obtained through electronic

surveillance [#225, 295, 298, 360] are denied.

      IT IS FURTHER ORDERED that defendant’s motions to sever or for

separate trial [#224, 359] are denied.

      IT IS FURTHER ORDERED that defendant’s motion to dismiss [#300] is

denied.




                                         _______________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

Dated this 16th day of March, 2009.




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